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                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

 LA UNIÓN DEL PUEBLO ENTERO, et al.,              §
                                                  §
                 Plaintiffs,                      §
                                                  §
 V.                                               §
                                                  §
                                                               Case No. 5:21-cv-00844-XR
 STATE OF TEXAS, et al.,                          §
                                                                      [Lead Case]
                                                  §
                 Defendants.                      §
                                                  §
 HARRIS COUNTY REPUBLICAN PARTY, et               §
 al.,                                             §
                                                  §
                 Intervenor-Defendants.


        THE PARTIES’ JOINT ADVISORY REGARDING PROPOSED SCHEDULING ORDERS

       NOW COME the parties in this case and file this Joint Advisory Regarding Proposed

Scheduling Orders to inform the Court of additional areas of agreement and disagreement with

respect to the schedule and trial.



                                     AREAS OF DISAGREEMENT

       The disagreement between the parties involves live testimony at trial by defendant county

election officials. All parties recognize and respect the need for defendant county election officials

to attend to their duties of administering the November 7, 2023 General Election. All parties also

recognize the need to accommodate religious observances for Rosh Hashanah and Yom Kippur,

and request that the Court not hold trial on the days of September 15, 18, 25, and 26. The parties

set out their specific positions below:




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       All Plaintiffs, State Defendants and Defendant Intervenors

       In order to ensure that their live testimony at a trial starting September 27, 2023 does not

interfere with defendant county election officials’ duties to administer the upcoming General

Election, Plaintiffs, State Defendants and Defendant Intervenors commit to the following:

       1. For each defendant county election official who is subpoenaed to testify at the trial,

           that county election official shall appear on or before October 6, 2023.              State

           Defendants and Defendant-Intervenors may subpoena defendant county election

           officials to testify during this period even if Plaintiffs have not yet completed their case

           in chief. Hours of testimony by defendant county election officials will be split evenly

           between the combination of Private Plaintiffs and the United States and the

           combination of State Defendants and Intervenors.

       2. A subpoenaed defendant county election official shall testify on one day, unless

           testimony the following day is necessitated by the end of proceedings on the day that

           the defendant county election official is called to testify.

       3. A subpoenaed defendant county election official shall be examined by all parties at the

           time the official is called to testify (including direct examination, cross examination

           and rebuttal), and the official shall not be recalled to testify during the remainder of the

           trial by any party.

       4. Defendant county election officials shall reserve the right to request additional

           accommodations from the Court, including the ability to testify at trial by

           contemporaneous transmission from a different location.




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        Defendant El Paso County Elections Administrator Lisa Wise

        Defendant El Paso County Elections Administrator Lisa Wise is amenable to both of the

proposed schedules filed by the parties (ECF Nos. 571, 572), and does not take a position as

between them.

        Proposal by Defendant Counties Bexar, Dallas, Hidalgo and Travis

        If the trial is scheduled to start on September 27, 2023, then, with respect to trial testimony,

the parties agree that, for each county election official who is subpoenaed to testify at the trial, that

county official shall appear in court, or at the county witnesses’ option (with the exception of Bexar

County), appear by contemporaneous transmission from a different location, on or before October

4, 2023. If the trial is scheduled to start on September 12, 2023, then, with respect to trial

testimony, the parties agree that, for each county official who is subpoenaed to testify at trial, that

county official shall appear in court, but shall reserve the right to request additional

accommodations from the Court, including the ability to testify by contemporaneous transmission

from a different location, on or before October 4, 2023. State Defendants and Defendant-

Intervenors may subpoena county election officials during this period even if Plaintiffs have not

yet completed their case in chief.

        Defendant Harris County Elections Administrator Clifford Tatum

        Defendant Harris County Elections Administrator Clifford Tatum is amenable to both of

the proposed trial schedules as long as his or his employees’ trial testimony (no matter which party

calls him or his employees as witnesses) occurs on or before October 4, 2023. He reserves the

right to request that any Harris County Elections Administrator’s employee who receives a trial

subpoena appear by contemporaneous transmission. Harris County Elections Administrator




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Clifford Tatum opposes any schedule that would require him or his employees to testify after

October 4, 2023.

              AREAS OF AGREEMENT WITH RESPECT TO PRE-TRIAL MATTERS

The parties agree on the following points.

   1. Consistent with their representations to the Court in the hearing of March 7, 2023, the

       parties agree that they will not propound additional written discovery on the county election

       officials unless the county election officials first agree to the written discovery. Tr. 39:9-

       13.

   2. Consistent with their representations to the Court in the hearing of March 7, 2023, the

       parties agree that questioning in depositions of the county election officials will be relevant,

       non-redundant, and as unobtrusive as possible. Tr. 28: 22-24.

   3. The parties agree that in the discovery period that remains in this case, each county election

       official will be deposed no more than once, regardless of the type of deposition.

   4. Notwithstanding the fifteen-day deadline for filing designations of rebuttal experts and

       serving the materials required by Fed. R. of Civ. P. 26(a)(2)(B), the parties agree that such

       designations and materials are due on April 5, 2023, with regard to Dr. Kenneth R. Mayer.

   5. All parties agree that depositions occurring on or after October 24, 2022, that did not count

       against the Court’s previous “Primary Election Discovery” are limited to 70 hours

       combined for all Private Plaintiffs and the United States and 70 hours combined for State

       Defendants and Intervenors. Time will be calculated using the total record time spent by

       each side questioning a witness, regardless of which side noticed the deposition.

   6. The parties agree to keep open the depositions of experts for the purposes of supplemental

       reports, whereby any additional deposition taking place after the close of discovery will be


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      limited solely to the content of any supplemental report, and not be used to reopen any

      deposition as to the content of general expert reports except to the extent that a

      supplemental report has altered or amended the content of such general reports.

Dated: March 29, 2023                                     Respectfully Submitted,


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                                CERTIFICATE OF SERVICE

The undersigned counsel hereby certifies that she has electronically submitted a true and correct
copy of the above and foregoing via the Court’s electronic filing system on the 28th day of March
2023.

                                            /s/ Nina Perales
                                            Nina Perales




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